                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE


Alvin Hawkins
                                         Plaintiff,
v.                                                        Case No.: 3:21−cv−00266

Middle Tennessee Pizza, Inc., et al.
                                         Defendant,

                                ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 1/19/2022 re [60].


                                                                         Lynda M. Hill
                                                       s/ Lindsay Newsom, Deputy Clerk




 Case 3:21-cv-00266 Document 61 Filed 01/19/22 Page 1 of 1 PageID #: 451
